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                                                                                                            2010 Mar-23 PM 01:46
                                                                                                            U.S. DISTRICT COURT
                                                                                                                N.D. OF ALABAMA


                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ALABAMA
                            SOUTHERN DIVISION

UNITED STATE OF AMERICA,                                }
                                                        }
        Plaintiff,                                      }
                                                        }
v.                                                      }        Case No.: 2:09-CV-905-RDP
                                                        }
CERTAIN REAL PROPERTY                                   }
LOCATED AT 488 DAVENTRY                                 }
CIRCLE, CALERA, ALABAMA,                                }
TOGETHER WITH ALL                                       }
IMPROVEMENTS, FIXTURES, AND                             }
APPURTENANCES THEREON,                                  }
                                                        }
        Defendant.                                      }

                                        ORDER OF DISMISSAL

        In accordance with the Stipulation of Dismissal (Doc. #18), filed March 23, 2010, the court

hereby ORDERS that this action shall be, and is, DISMISSED WITH PREJUDICE. The parties

are to bear their own costs, expenses, and attorney's fees.1

        Additionally, the Government is entitled to a Certificate of Reasonable Cause, which will be

entered contemporaneously herewith.

        DONE and ORDERED this                  23rd          day of March, 2010.


                                                            ___________________________________
                                                            R. DAVID PROCTOR
                                                            UNITED STATES DISTRICT JUDGE




        1
          According to the Stipulation of Dismissal, Claimant Rivera has expressly relinquished his right to seek
attorney's fees and costs, to the extent available, under 28 U.S.C. § 2465(b).
